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                                                                                                                 CO-386
                                                                                                                 10/2018


                                   United States District Court
                                   For the District of Columbia
Cable News Network, Inc.                            )
                                                    )
                                                    )
                                                    )
                                     Plaintiff      )                          1:19-cv-1278-RBW
                                                             Civil Action No._______________________
                       vs
                                                    )
Federal Bureau of Investigation                     )
                                                    )
                                                    )
                                    Defendant       )


                                                 CERTIFICATE RULE LCvR 26.1

                                           Cable News Network, Inc.
I, the undersigned, counsel of record for ____________________________________ certify that to the best of my knowledge and

                                                                           Cable News Network, Inc.
belief, the following are parent companies, subsidiaries or affiliates of _______________________________________ which have

any outstanding securities in the hands of the public:

  Cable News Network, Inc. is ultimately a wholly-owned subsidiary of Warner Bros. Discovery,
  Inc., a publicly traded corporation. Warner Bros. Discovery, Inc. has no parent company and, to
  the best of Cable News Network, Inc.'s knowledge, no publicly held company owns ten percent
  or more of Warner Bros. Discovery, Inc.’s stock.

These representations are made in order that judges of this court may determine the need for recusal.


                                                               Attorney of Record

                                                               /s/ Charles D. Tobin
                                                               _______________________________________
                                                               Signature

 No. 455593
________________________________________                       Charles D. Tobin
                                                               _______________________________________
BAR IDENTIFICATION NO.                                         Print Name

                                                               1909 K Street NW, 12th Floor
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                                                               Address

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                                                               Phone Number
